[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The Court having thoroughly and carefully reviewed the record in this case including this Court's Memorandum of Decision dated February 22, 2000 in Michael Robinson v. Commissioner of Correction, Docket CV97-405187, appeal pending S.C. No. 16368 and with the agreement of the parties orders as follows:
Judgment shall enter for the petitioner based on this Court's earlier decision in Robinson supra. It is therefore ordered that the petitioner's parole eligibility be determined based on the statutes in effect on the date of the commission of the offenses of which he was convicted.
SO ORDERED.
Dated at New Haven, Connecticut this 14th day of November, 2000.
By the Court
  Anthony V. DeMayo Judge of the Superior Court